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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

BARBARAHALL,

               Plaintiff,                             CASE NO.:


-VS

CREDIT ONE BANK, N.A.

               Defendant.


                            cOMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, BARBARA HALL, by and through the undersigned counsel,

and sues Defendant, CREDIT ONE BANK, NA, and in support thereof respectfully alleges

violations of the Telephone Consumer Protection Act, 47 U.S.C.       § 227 et seq. (“TCPA”) and the
Florida Consumer Collection Practices Act, Fla. Stat.     § 559.55 et seq. (“FCCPA”).
                                           INTRODUCTION

       1   .         The TCPA was enacted to prevent companies like Defendant from invading

American citizen’s privacy and prevent abusive “robo-calls.”

       2.            “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Minis v. Arrow Fin. Servs., LLC, -US--, 132 S,Ct., 740, 745, 181,

L.Ed. 2d 881 (2012).

       3.            “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the
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wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the auto-dialers to simply stop calling.” Osorlo v. State farm
                                      (11th
Bank, FS.B., 746 F. 3d 1242, 1256             Cir. 2014).

        4,       According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014. fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 20 1 5), http://transitionfcc.gov/DailyReleases/DailyBusiness/20 1 5/db0527/DOC-

333676A1 .pdf.

                                  JURISDICTION AND VENUE

        5,       This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of attorney fees and costs.

        6.       Jurisdiction and venue for purposes ofthis action are appropriate and conferred by

28 U.$C.     § 133 1, Federal Question Jurisdiction, as this action involves violations ofthe TCPA.
        7.       Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 US.C.          § 1 33 1 which provides that the district courts
                                                                ,




shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 USC.            § 227(b)(1)(A)(iii). See
Mims   V.   Arrow fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State farm Bank FSB.,

746 F3d 1242, 1249 (1 1t1 Cir. 2014)



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        25.    Each call Defendant made to Plainfifi’s cellular telephone was done so without

“express consent” of Plaintiff

       26.     Each call Defendant made to Plaintiffs cellular telephone number was bowing

and willful.

       27.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as ft did to Plaintiff’s cellular telephone in

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       28.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice just as ft did to Plaintiffs cellular telephone in this case, with no

way for the consumer, Plaintiffi or Defendant to remove the number.

       29.     Defendant’s corporate policy is structured so as to continue to •cafl individuals like

Plaintiff despite these indMduals explaining to Defendant they wish for the calls to stop.

       30.     Defendant has numerous other federal lawsuits pending against ft alleging similar

violations as stated in this Complaint

       31.     Defendant has numerous complaints across the county against ft asserting that its

automatic telephone dialing system continues to call despite requested to stop.

       32.     Defendant has had numerous complaints from consumers across the county

against it asking to not be called; however, Defendant continues to call the consumers.

       33.     Defendant’s corporate policy provided no means for Plaintiffto have her number

removed from Defendant’s call list

       34.     Defendant has a corporate policy to harass and abuse individuals despite actual

bowledge the called parties do not wish to be called.

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       35.     Not a single call placed Defendant to Plaintiff was placed for “emergency

puiposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       36.     Defendant wilifluly and/or knowingly violated the TCPA with respect to Plainfttt

       37.     From each and every call placed without consent by Defendant to Plaindifis

cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her

right of seclusion.

       38.     From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiffsuffered the injury ofoccupaton ofher cellular telephone

line and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate

callers or outgoing calls while the phone was ringing from Defendant’s calls.

       39.     From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone, Plaindffsuffered the injury ofunnecessary expenditure ofher time.

For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked

for the calls to stop. Even for unanswered calls, Plaintiff bad to waste time to unlock the

telephone and deal with missed call notifications and call logs that reflected the unwanted calls.

This also impaired the usefulness of the features of Plaintiffs cellular telephone, which are

designed to inform the user ofimportant missed communications.

       40.     Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone was an injuiy in the form of a nuisance and annoyance to Plainflfi For calls

that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

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the features of Plaintiffs cellular telephone, which are designed to inform the user of important

missed communications.

        41   .   Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone resulted in the injury of unnecessary expenditure of Plaintiffs cellular

telephone’s battery power.

        42.      Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone where a voice message was left which occupied space in Plaintiff s telephone

or network.

        43.      Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone resulted in the injury of a trespass to Plaintiffs chattel, namely her cellular

telephone and her cellular telephone services.

        44,      As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress, anxiety, nervousness,

embarrassment, distress and aggravation.

                                             cOUNT I
                                      (Violation of the TCPA)

        45.      Plaintifffully incorporates and realleges paragraphs one (1) through forty four

(44) as iC fully set forth herein.

        46.      Defendant willfully violated the TCPA with respect to Plaintiff, especially for

each of the auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff notified

Defendant that she wished for the calls to stop.

        47.      Defendant repeatedly placed non-emergency telephone calls to Plaintiffs cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without
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Plainflifis prior express consent in violation offederal law, including 47 U.s.c §

227(b)(1)(A)(ffi).

          WHEREFORE, Plaintiff respectfully demands a trW by jury on all issues so friable and

judgment against Defendant for statutory damages, punitive damages, actual damages, treble

damages, enjoinder from further violations ofthese pads and any other such reliefthe court may

deemjust and proper.

                                              coUNT I
                                      (Violation of the FCCPA)

          48.    Plaintiff fully incorporates and reaileges paragraphs one (1) through forty four

(44) as iffully set forth herein

          49.   At all times relevant to this aclion Defendant is subject to and must abide by the

laws ofthe 5tate ofFloflda, including Florida statute § 559.72.

          50.   Defendant has violated Florida Statute    § 559.72(7) by willfully communicating
with the debtor or any member of her family with such frequency as can reasonably be expected

to harass the del$or or her family.

          51.   Defendant has violated Florida 5tatute   § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or brass the debtor or any member of her

family.

          52.   Defendant’s actions have directly and proximately resulted in Plaintiffs prior and

continuous sustaining ofdamages as described by Florida Statute § 559.77.

          WHEREFORE, Plainflifrespecifully demands a trial byjury on all issues so friable and

judgment against Defendant for statutory damages, punitive damages, actal damages, costs,

interest attorney fees, enjoinder from further violations of these parts and any other such relief
                          .
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the court may deem just and proper.

                                      Respectfully



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